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                     IN THE UNITED STATEr TRICT COURT
                     FOR THE MIDDLE       C glitVIrAiAMA
                                            DIVISION
                                     all AUG 21 P b: 4 Li



             PLAINTIFF

v.                                            CASE ACTION NO.:       :              LI& )-IT-31.Ad
hEebtk Ake, riST                                        JURY DEMAND(MARK ONE)

                                                         1=1 YES     I=1 NO
             DEFEN DANT


                                   EEOC . COMPLAINT


1.    Plaintiffresides at 31    4ittiST Phemy cis                             2480
2.    Defendant(s)' name(s) PECOrn /A0Y19ST


      Location ofprincipal office(s) ofthe named defen4Ant(s)
       NV txt SIA4e. 1 AD 1 rvimiliebi r-}
      1410A                    q
      Nature of defendr
                      iZisiness_  -tenanee. an4 bfeabtiond
      Itifyr+                  oral          5han 91.an
      Approximate number of individuals employed by defendant(s)                 flOoft,
3.    This action is brought pursuant to Title VII of the Civil Rights Act of 1964 for
      employement discrimination. Jurisdiction is specifically conferred on the Court by 42
      U.S.C. §2000e-5. Equitable and other relief are also sought under 42 §2000e-5(g).

4.    The acts complained of in this suit concern:

      1.     0Failure to employ me.
      2.     0Termination of my employment.
      3.        Failure to promote me.
      4.        Other acts as specified below: lai WImmatkir             Crate *)
       cm%       cuts..      Osna. 1'4
                                    ,  6104a n.
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5.      Plaintiff is:
        A.            Presently employed by the defendant.
               )( Not presently employed by the defendant. The dates of employement were
                Pruttist S. 2,0et March 04Employment was terminated because:

              (1)              Plaintiff was discharged.
              (2)        s, Plaintiff was laid off.
              (3)              Plaintiff left job voluntarily.

6.      Defendant(s)' conduct is discriminatory with respect to the following:

        A.            My race.
        B.            My religion.
        C.            My sex.
        D.            My national origin.
        E.     )4     Other, as specified below:     IDEA          leis
7.      The name(s), race, sex, and the position or title of the individual(s) who allegedly
        discrimiHted against mse, .during the period of my employment with the defendant company
        is (are) Mlehoil Opal                 Mal& I    win%
               'Mgt& IMMetag                     ryktie)Loin
8.      The alleged discrimination occurred on or about     No) 2N6              WW1 .2017
9.    The nature of my complaint, i.e., the manner in which the individual(s) named above
       discriminated against me in terms of the conditions of my employment, is as follows:
      ( 1) kle..trri.c&vtgunj-
              Seseusa. venfra.s.c. nolo.* CX19ev4--                    elotte-1,




                                        Yhoule_ )091
         wtteleo.ty,,4.*4               43'"")%gtri
                                     AO ‘




10.     The alleged illegal activity took place at
         gtA-pe               e-taparrii-vmuna-
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1 1.    I filed charges with the Equal Employrnent Opp rtunity Commission regarding defendant(s)'
        alleged discriminatory conduct on or about                      ft1 W13.13/I           •
        I have attached a copy of the Notice-of-Ri               -Sue 1 tter issue by the E ual
        Employrnent Opportunity Commission. The letter was received by me on

12.     I seek the following relief:

        A.     1....--Ire;oCery of back pay.
        B.            Reinstatement to my former job, and any other relief as may be appropriate,
               including injunctive orders, damages, costs, and attorneys fees.



                                                       Signature Yf Plaintiff

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                                                            cgs   Telepho       utnbet of Plaintiff
